    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 1 of 25 PageID #:2
                                                                                               <t


                      UNITED STATES DISTRICT COURT
                                                                     FILED
                      NORTHERN DISTRICT OF ILLINOIS                    APR   1s ?0169
                            EASTERN DIVISION
                                                                      TIIOMAS G BRUTON
UNITED STATES OF      AMERICA )                                   cLERK, U.s. DISTRICT COURT
                                           )
             v.                            )   Violations: Title 18, United States
                                           )   Code, Sections 1343, 10284,
ANDRIS FESENKO,                            )   1e56(a)(2)@)(i), and 2
  aka "Andris Neilands,"                   )
                                           )   UNDEB SEAL


                                      COUNT ONE
                                                         16CR 257
                                      (Wire Fraud)
                                                               JUDGE BIICruO
        The SPECIAL JUNE 2015 GRAND JURY charges:
        <
        r. ^.f,lmes materralI f,nrs
           Af,                  f,o
                                     I
                                A"lnolcf,ment: MAGISTRATEJUDGESCHEI{I(IER

             a.    Defendant ANDRIS FESENKO was a Latvian citizen residing in

London, England.

             b.    Co-Schemer A was a Latvian citizen who resided       in the United
States between in or about March 2014 and in or about June 2014.

             c.    Co-Schemer B was a Latvian citizen who resided       in the United
States between in or about   April 2Ol4 and in or about July 2014.

             d.    Co-Schemer C was       a Latvian citizen who entered the United
States in or about January 2OL4 and remained in the United States as of November

2015.

             e.    Co-Schemer D was a Latvian citizen who resided in the United

States between in or about October 20L4 and in or about August 20L5.
     Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 2 of 25 PageID #:3




              f.    Co-Schemer E was a Latvian citizen who resided      in the United

 States between in or about October 2014 and in or about September 2015.

              g.    Victim A was a resident of Louisiana, and maintained a bank

 account at Caldwell Bank & Trust in Columbia, Louisiana.

              h. Victim B was a resident of Atizona,        and maintained a bank

 account at Bank of America in Sierra Vista, Arizona.

              i.    Victim C was a resident of California, and maintained          an

investment account       at Vanguard, which is          headquartered   in   Malvern,

Pennsylvania.

             j.    Victim D was a resident of Alberta, Canada, and maintained       a

bank account at Toronto Dominion Bank in Lloydminster, Alberta, Canada.

             k.    Victim E was a resident of Michigan, and maintained a bank

account at Fifth Third Bank in lra, Michigan.

             I.    Victim F was a resident of Hawaii, and maintained a bank
account at American Savings Bank in Waipahu, Hawaii.

             m. Victim G was a resident of Colorado, and maintained a bank
account at U.S. Bank   in Greenwood Village, Colorado.

      2.     From in or about May 20L4, through in or about December 2014, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein, and others known and unknown to the Grand Jury, knowingly

devised, intended to devise, and participated   in a scheme to defraud Victims   A-G,



                                          2
     Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 3 of 25 PageID #:4




 and others, to obtain money by means of materially false and fraudulent pretenses,

 representations, promises, and the concealment of material facts, as more fully

 described below.

       3.     It was part of the scheme that defendant ANDRIS FESENKO obtained
and caused to be obtained money when others working with FESENKO placed false

and fraudulent advertisements in online publications offering for sale automobiles

and other vehicles, and convinced victims to transfer via interstate wire
transmissions money and funds intended to purchase those automobiles.

      4.      It was further part of the scheme that defendant ANDRIS FESENKO,
Co-Schemer A, Co-Schemer B, Co-Schemer D, Co-Schemer E, and others opened, or

caused   to be opened, accounts at banks throughout the Chicagoland area,        and

elsewhere, for the purpose of receiving funds obtained from victims through false

and fraudulent pretenses and representations.

      5.      It   was further part of the scheme that victims communicated with

individuals who were using false and. fictitious business names,         addresses,

telephone numbers, facsimile numbers, and email addresses, thereby convincing

victims of the legitimacy of the businesses, and persuading victims to wire money

purportedly   in   exchange for the delivery of automobiles and other vehicles that

never arrived.

      6.      It   was further part of the scheme that victims' online investment

accounts were accessed without the victim's permission or authorization, and money

was fraudulently transferred out of the victims' investment accounts and into bank
     Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 4 of 25 PageID #:5




accounts opened, maintained,    or controlled, whether directly or indirectly, by
FESENKO and others working with him or at his direction.

      7.     It was further part of the scheme that defendant ANDRIS FESENKO,
Co-Schemer   A, Co-Schemer B, and others, opened, or caused to be opened, without

the victims' knowledge or authorization, bank accounts that appeared to be held

jointly by Co-Schemer A or Co-Schemer B, on the one hand, and certain victims    on

the other hand, even though such bank accounts were not jointly held.

      8.     It was further part of the scheme that defendant ANDRIS FESENKO,
Co-Schemer A, Co-Schemer B, Co-Schemer D, Co-Schemer E, and others withdrew,

attempted to withdraw, and/or caused to be withdrawn, from bank accounts opened,

maintained., or controlled by ANDRIS FESENKO, or others working with him or at

his direction, money obtained from victims through false or fraudulent pretenses

and representations, even though ANDRIS FESENKO and others knew that such

money did not belong to him or them.

      9.     It was further part of the scheme that, after withdrawing funds
obtained through false and fraudulent pretenses and representations, or causing

such funds to be withdrawn, defendant ANDRIS FESENKO, Co-Schemer A, Co-

Schemer B, Co-Schemer D, Co-Schemer E, and others, executed wire transfers, or

caused wire transfers to be executed, transferring such funds from locations inside

the United States to individuals located outside the United States using entities

such as Western Union and MoneyGram.




                                         4
    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 5 of 25 PageID #:6




      10. It was further part of the scheme that defendant ANDRIS FESENKO
communicated      with Individual A, who was located within the Northern District of

Illinois, via telephone, electronic mail, and online encrypted chat        programs.

FESENKO discussed the scheme with Individual             A, directed Individual A   to

instruct others regard.ing the scheme's execution and operation, includ.ing notifuing

Individual A about the fraudulent transfer of money into bank accounts opened by

FESENKO or individuals working on his behalf or at his direction, and by directing

Individual A regarding the timing and amount of withdrawals from those bank

accounts.

      11. It was further part of the scheme that defendant ANDRIS FESENKO,
Co-Schemer   A,   Co-Schemer B, Co-schemer D, Co-Schemer E, and others, known

and unknown to the grand jury, did misrepresent, conceal, hide, and cause to be

misrepresented, concealed, and hidden, acts done in furtherance of the scheme and

the purpose ofthose acts.

      12.    On or about May 7, 2014, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                      ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,     for the purpose of       executing the above-described scheme,

knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, on online chat

message sent   by FESENKO to Individual A, who was in the Northern District of




                                           5
    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 6 of 25 PageID #:7




Illinois, in which FESENKO instrueted Individual        A to withdraw fraudulent
proceeds obtained from Victim A;

      In violatiou of fitle 18, United States Code, Section 1343 and 2.




                                         6
    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 7 of 25 PageID #:8




                                     couNT   Tvyo                                     3
                                     (Wire Fraud)

      The SPECIAL JUNE 2015 GRAND JURY further charges:

      1.     Paragraphs L through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.    On or about May 6, 20t4, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,     for the purpose of executing the above-described         scheme,

knowingly caused to be transmitted by means of wire communication in interstate

and. foreign commerce certain     writings, signs, and signals, namely, &r interstate

funds transfer of approximately $27,965       in   response   to a false and fictitious
advertisement for a   2OO7   Kenworth truck, from Victim A's bank account to a bank

account held in the name of Co-Schemer A Super Autos LLC, which was opened by

Co-Schemer A;

      In violation of Title 18, United States Code, Sections L343 and   2.
    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 8 of 25 PageID #:9



                                 COUNT THREE
                                  (Wire Fraud)

      The SPECIAL JUNE 2015 GRAND JURY further charges:

      1.    Paragraphs L through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.    On or about May 8, 20L4, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                    ANDRIS FESENKO, aka'Andris Neilands,"

defendant herein,    for the purpose of executing the        above-described scheme,

knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, &rr interstate

funds transfer of approximately $20,000      in   response   to a false and. fictitious
advertisement for   a L962 Chevrolet Corvette, from Victim B's bank account to a
bank account held in the name of Co-Schemer A Super Autos LLC, which was

opened by Co-Schemer A;

      In violation of Title 18, United States Code, Sections 1343 and   2.




                                         8
    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 9 of 25 PageID #:10




                                  COUNT FOUR
                                  (Wire Fraud)

      The SPECIAL JUNE 2015 GRAND JURY further charges:

      1.    Paragraphs 1 through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.    On or about May 8, 20L4, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,   for the purpose of       executing   the above-described scheme,
knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, a telephone call

with Individual A during which FESENKO instructed Individual A to withdraw
fraudulent proceeds obtained from Victim B;

      In violation of Title 18, United States Code, Section 1343 and   2.




                                         I
    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 10 of 25 PageID #:11




                                    COUNT FIYE
                                    (Wire Fraud)

        The SPECIAL JUNE 2015 GRAND JURY further charges:

        1.    Paragraphs 1, 2, 4, and 6 through 11 of Count One are incorporated

here.

        2.    On or about May 8, 20t4, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                      ANDRIS FESENKO, aka "Andris Neilands,"

d.efend.ant herein,     for the purpose of   executing   the above-d.escribed   scheme,

knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, an interstate

funds transfer of approximately S36,760 from Victim C's investment account to an

account opened and maintained        by Co-Schemer B, without the          knowledge or

consent of Victirn C;

        In violation of Tit1e 18, United States Code, Sections 1343 and   2.




                                           10
   Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 11 of 25 PageID #:12




                                      COUNT SD(
                                     (Wire Fraud)

        The SPECIAL JUNE 2015 GRAND JURY further charges:

        1.    Paragraphs L, 2, 4, arnd 6 through 11 of Count One are incorporated

here.

        2.    On or about May 8, 2014, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                     ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,     for the purpose of executing the       above-described scheme,

knowingly caused. to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, a telephone call

with Individual A during which FESENKO instructed Individual A to withdraw
fraudulent proceeds obtained from Victim C;

        In violation of Title 18, United States Code, Section 1343 and   2.




                                           11
   Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 12 of 25 PageID #:13




                                 COUNT SEVEN
                                  (Wire Fraud)

      The SPECIAL JUNE 2015 GRAND JURY further charges:

      1.     Paragraphs 1 through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.     On or about May 16, 2014, in the Northern District of lllinois, Eastern

Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,   for the purpose of executing the          above-described scheme,

knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, &r interstate

funds transfer of approximately $18,040       in   response   to a false and   fi.ctitious

advertisement for a 1966 Pontiac GTO, from Victim D's bank account to the bank

account of Super Car Deals LLC, which was opened by Co-Schemer B;

      In violation of Title 18, United States Code, Section 1343 and 2.




                                         t2
   Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 13 of 25 PageID #:14




      The SPECIAL JUNE 2015 GRAND JURY further charges:

      L.    Paragraphs 1 through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.    On or about May 19, 20t4, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,   for the   purpose   of executing the above-described   scheme,

knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, an online

encrypted chat message with Individual A during which FESENKO communicated

with Individual A regarding fraudulent proceeds obtained from Victim D;

      In violation of Title 18, United States Code, Section 1343 and 2.




                                         13
   Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 14 of 25 PageID #:15




                                   COUNT MNE
                                   (Wire Fraud)

      The SPECIAL JUNE 2015 GRAND JURY further charges:

      1.    Paragraphs L through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.    On or about October 30, 2014, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,    for the purpose of executing the above-described scheme,
knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, Bn interstate

funds transfer of approximately S12,750         in   response   to a false and fi.ctitious
advertisement for   a 1966 Chevrolet Corvette, from Victim E's bank account to a
bank account opened and maintained by Co-Schemer E;

      In violation of Title 18, United States   Cod.e,   Sections 1343 and 2.




                                          L4
    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 15 of 25 PageID #:16




                                   COUNT TEN
                                   (Wire Fraud)

      The SPECIAL JUNE 20L5 GRAND JURY turther charges:

      1.     Paragraphs 1 through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.     On or about October 30, 20L4, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,   for the purpose of executing the       above-described scheme,

knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, an online chat

message   with Individual A during which FESENKO communicated with Individual

A regarding fraudulent proceeds obtained from Victim E, as well as the origin of

such proceeds;

      In violation of Title 18, United States Code, Section 1343 and   2.




                                         15
   Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 16 of 25 PageID #:17




                                   COUNT ELEVEN
                                    (Wire Fraud)

      The SPECIAL JUNE 2015 GRAND JURY further charges:

      1.     Paragraphs L through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.     On or about October 3L, 20t4, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,   for the purpose of executing the         above-described scheme,

knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, an interstate

funds transfer of approximately $19,550      in   response   to a false and   fictitious

advertisement for a t970 Chevrolet Chevelle, from Victim F's bank account to a

bank account opened and maintained by Co-Schemer E;

      In violation of Title 18, United States Code, Sections 1343 and2.




                                        16
   Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 17 of 25 PageID #:18




                                COUNT TWELVE
                                 (Wire Fraud)

      The SPECIAL JUNE 2015 GRAND JURY further charges:

      1.     Paragraphs 1 through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.     On or about October 31, 2014, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,   for the purpose of executing the above-described scheme,
knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, 8n online chat

message   with Individual A during which FESENKO communicated with Individual

A about fraudulent proceeds obtained from Victim F;

      In violation of Title 18, United States Code, Section 1343 and   2.




                                         L7
   Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 18 of 25 PageID #:19




                               COUNT THIRTEEN
                                 (Wire Fraud)

      The SPECIAL JUNE 2015 GRAND JURY further charges:

      1.    Paragraphs 1 through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.    On or about November 18, 2014, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,   for the purpose of executing the          above-described scheme,

knowingly caused to be transmitted by means of wire communication in interstate

and foreigp commerce certain writings, signs, and signals, namely, an interstate

funds transfer of approximately $42,000       in   response   to a false and   fictitious

advertisement for a 2013 BMW X3 from Victim G's bank account to the bank

account of USL Deals Inc., which was opened by Co-schemer E;

      In violation of Title 18, United States Code, Sections 1343 and   2.




                                         18
   Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 19 of 25 PageID #:20




                               COUNT FOURTEEN
                                 (Wire Fraud)

      The SPECIAL JUNE 2015 GRAND JURY further charges:

      1.     Paragraphs 1 through 5 and Paragraphs 8 through 11 of Count One

are incorporated here.

      2.     On or about November 18, 20L4, in the Northern District of lllinois,

Eastern Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein,   for the purpose of executing the above-described       scheme,

knowingly caused to be transmitted by means of wire communication in interstate

and foreign commerce certain writings, signs, and signals, namely, an online chat

message   with Individual A in which FESENKO communicated with Individual A
regarding fraudulent proceeds obtained from Victim G;

      In violation of Title 18, United States Code, Section 1343 and 2.




                                         19
   Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 20 of 25 PageID #:21




                               COUNT FIFTEEN
                           (Aggravated Identity Theft)

      The SPECIAL JANUARY 2015 GRAND JURY further charges:

       1.    Paragraphs 1 through 11 of Count One is incorporated here.

      2.     On or about May 7, 20t4, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein, knowingly transferred, possessed, and used, without lawful

authority, a means of identification of another person, namely, Victim A's name and

address, during and   in relation to an   offense under   Title   18, United States Code,

Section 1343, as described in Count One of this indictment, knowing that the means

of identification belonged to another person;

      In violation of Tit1e 18, United States Code, Section 1028A(aX1).




                                           20
    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 21 of 25 PageID #:22




                                COUNT SXTEEN
                           (Aggravated Identity Theft)

      The SPECIAL JANUARY 2015 GRAND JURY further charges:

   1. Paragraphs L through    11 of Count One is incorporated here.

      2.     On or about November 19, 20t4, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                    ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein, knowingly transferred, possessed, and used, without lawful

authority, a means of identification of another person, namely, Victim G's name and

address, during and   in relation to an offense under Title   18, United States Code,

Section L343, as described in Count One of this indictment, knowing that the means

of identification belonged to another person;

      In violation of Title 18, United States Code, Section 1028A(a)(1).




                                          2L
    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 22 of 25 PageID #:23




               COUNTS SEVENTEEN THROUGH TWENTY ONE
                          (Money Laundering)

       The SPECIAL JUNE 2015 GRAND JURY turther charges:

       1.     Paragraphs 1 through 11 of Count One are incorporated here.

                         The Money Laundering Scheme

      2.      At times material to this indictment:

              a.    After obtaining funds from victims through false and fraudulent

pretenses and representations, defendant ANDRIS FESENKO, as well as Cot

Schemer    A, Co-Schemer B, Co-Schemer D, Co-Schemer E, and others, known         and

unknown to the Grand Jrry, withdrew the funds, and"/or caused the funds to be

withdrawn, before victims could discover the fraudulent scheme.

              b.    After withdrawing funds obtained through false and fraudulent

pretenses and representations, or causing such funds to be withdrawn, defendant

ANDRIS FESENKO, Co-Schemer A, Co-Schemer B, Co-Schemer D, Co-Schemer E,

and others, known and unknown to the Grand Jury, executed wire transfers, or

caused wire transfers to be executed, transferring such funds from locations inside

the United States to individuals located outside the United States, using entities

such as Western Union and MoneyGram.

             c.     Defendant ANDRIS FESENKO, and others, known and

unknown to the Grand Jury, directed where certain funds obtained through false

and fraudulent pretenses and representations should be sent by communicating

with Individual A, who was located within the Northern District of Illinois, via
telephone, electronic mail, and online encrypted chat programs.

                                          22
    Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 23 of 25 PageID #:24




             d.       Following the wire transfers, defendant ANDRIS FESENKO

received from Individual    A reference numbers, and thus confirmations regarding
the wire transfers of proceeds illegally obtained, by communicating with Individual

A via telephone, electronic mail, and online encrypted chat programs.

             e.       In addition to transferring ilegal proceeds using entities such   as

Western Union and MoneyGram, defendant ANDRIS FESENKO, attempted to

transfer the proceeds of the illegal wire fraud scheme through means other than

Western Union and MoneyGram, such as by transferring money between and

among individuals who purportedly were capable of transferring money outside of

the traditional banking system.

      3.     On or about the dates set forth in the table below, in the Northern

District of lllinois, Eastern Division, and elsewhere,

                      ANDRIS FESENKO, aka "Andris Neilands,"

defendant herein, transported, transmitted, and transferred, and attempted to

transport, transmit, and transfer, funds from a place in the United States to and

through a place outside the United. States, knowing that the funds involved in the

transportation, transmission, and transfer represented the proceeds of some form of

unlawful activity, and knowing that such transportation, transmission, and transfer

was designed in whole or       in part to conceal and disguise the nature, location,
source, ownership, and control of the proceeds of the specified unlawful activity,

namely, wire fraud:




                                           23
 Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 24 of 25 PageID #:25




                                    Wire transfer from Co-Schemer B in Wheeling,
                                    Illinois, to Individual RCS in Bulgaria, via
                                    MoneyGram

                                    Wire transfer from Co-Schemer A in Wheeling,
                                    Illinois, to Individual VS in Latvia, via Western
                                    Union

         tllLSlt4                   Wire transfer from Co-Schemer E in Deerfield,
                                    Illinois, to Individual YL in Russia, via
                                    MoneyGram

        tLll4lL4                    Wire transfer from Co-Schemer D in Palatine,
                                    Illinois, to Individual AD in Russia, via Western
                                    Union

                                    Transfer from Co-Schemer C to Individual A in
                                    New York, for subsequent transfer to FESENKO
                                    in London, England


All in violation of Title   18, United States Code, Sections 1956(aX2XBXil and 2.
   Case: 1:16-cr-00251 Document #: 2 Filed: 04/12/16 Page 25 of 25 PageID #:26




                           FORFEITURE ALLEGATION

      The SPECIAL JUNE 2015 GRAND JURY alleges:

       1.    Upon conviction of an offense in violation of Title 18, United States

Code, Section 1343, as set forth   in this indictment, defendant shall forfeit to the
United States of America any property which constitutes and is derived from

proceeds traceable   to the offense, as provided. in Title 18, United. States    Code,

Section 981(a)(1)(C) and Title 28, United States Code, Section 2aGL@).

      2.     The property to be forfeited includes, but is not limited to: a personal

money judgment in the amount of at least $444,700.

      3.     If   any of the property described above, as a result of any act or

omission by a defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a   third party; has been placed beyond

the jurisdiction of the Court; has been substantially diminished in value; or has

been commingled with other property which cannot be divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property, as

provided by Title 21, United States Code, Section 853(p).



                                               A TRUE BILL:



                                               FOREPERSON



UNITED STATES ATTORNEY


                                          25
